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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            AT CHARLESTON

UNITED STATES OF AMERICA


v.                                           CRIMINAL No. 2:03-00194-02

CARLOS J. SANTOS


                     MEMORANDUM OPINION AND ORDER

     Pending before the court is defendant’s motion titled,

“ORDER RELEASING PRESENTENCE IVESTIGATION [sic] REPORT FOR 2255

PURPOSES[.]” (Doc. No. 236.)        Defendant filed the motion pro se.

     In the instant motion, defendant requests that he be

furnished with a copy of his presentence investigation report so

that he can file a § 2255 motion to “call into question various

matters pertaining to the PSI.”       (Id.)     Defendant also requests

that the court send his former attorney, Jacqueline A. Hallinan,

a copy of his trial and sentencing transcripts.1            (Id.)    After a

review of the docket in this case, it appears that the defendant

has not yet filed a § 2255 motion.        Further, although not

explicitly stated, it appears as though Defendant is requesting

that his transcripts and presentence investigation report be



     1
      Defendant wrote, “...fore [sic] the record, I am requesting
Ms. Jacqueline A Hallinan, Esquirer [sic], a copy of my trail
[sic] and sentencing transcripts.” This statement could also be
interpreted as a request for the court to order defendant’s
former attorney to furnish him with a copy of his trial and
sentencing transcripts. The court, however, deems such an order
improper.
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prepared at the Government's expense.

     The statutory mechanism by which the court could grant an

indigent defendant or movant a transcript at public expense is 28

U.S.C. § 753(f), which provides in relevant part:


     Fees for transcripts furnished in proceedings brought
     under section 2255 of this title to persons permitted to
     sue or appeal in forma pauperis shall be paid by the
     United States out of money appropriated for that purpose
     if the trial judge or a circuit judge certifies that the
     suit or appeal is [1] not frivolous and [2] that the
     transcript is needed to decide the issue presented by the
     suit or appeal.


Furthermore, the Fourth Circuit has opined that copies of

transcripts may be provided to an indigent litigant at government

expense upon a showing by the litigant of a particularized need

for the documents.     See Jones v. Superintendent, Va. State Farm,

460 F.2d 150, 152-53 (4th Cir. 1972).         An indigent is not

entitled to free copies “merely to comb the record in the hope of

discovering some flaw.”      United States v. Glass, 317 F.2d 200,

202 (4th Cir. 1963).

     Additionally, the Southern District of West Virginia has

favorably cited and followed the reasoning of a Second Circuit

decision holding that “a motion for a free transcript pursuant to

§ 753(f) is not ripe until a § 2255 motion has been filed.”2 See


     2
       In United States v. Horvath, 157 F.3d 131, 133 n.1 (2d
Cir. 1998), the Second Circuit noted that the Fourth Circuit has
reached the same conclusion in numerous unpublished, non-
precedential opinions. See In re O'Kane, 91 F.3d 132 (4th Cir.

                                     2
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United States v. Bumpus, 125 F.Supp.2d 190, 191 (S.D.W. Va. 2001)

(citing United States v. Horvath, 157 F.3d 131, 132 (2d Cir.

1998)).      It should be noted that a court's failure to grant an

indigent federal prisoner the unconditional right to obtain trial

transcripts for purposes of a § 2255 proceeding does not violate

the prisoner's due process or equal protection rights.               United

States v. MacCollom, 426 U.S. 317, 323-26 (1976).

        The only reason stated for needing the requested materials

is to file a § 2255 motion in defendant’s criminal case and “call

into question various matters pertaining to the PSI.”               (Doc. No.

236.)       Defendant has not shown why he needs court records before

he can set forth facts to support a § 2255 motion and has failed

to establish that the transcripts, or other documents, are needed

for resolution of issues to be raised in the proposed subsequent

proceeding.      The defendant's request is premature because he has

not filed a § 2255 motion.       Therefore, the court will deny his

motion without prejudice to allow him to refile the motion should

he satisfy the requirements § 753(f).3


1996) (unpublished table decision).
        3
      In the event that defendant files a § 2255 motion, he may
request copies of specific documents or transcripts. The Court
further notes that defendant is not precluded from filing a §
2255 motion merely because he does not have transcripts from his
case. Indeed, § 2255 motions are frequently filed without the
benefit of transcripts. If defendant is interested in receiving
specific transcripts or documents at his own expense prior to
filing his § 2255 motion, he may contact the Clerk to request
them.

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     Accordingly, the defendant’s motion is hereby DENIED without

prejudice.

     The Clerk is directed to send copies of this Memorandum

Opinion and Order to counsel of record and the defendant.

     It is SO ORDERED this 20th day of November, 2007.

                                           ENTER:


                                          David A. Faber
                                          United States District Judge




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